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         ORDERED in the Southern District of Florida on July 23, 2019.




                                                                Erik P. Kimball, Judge
                                                                United States Bankruptcy Court
_____________________________________________________________________________

                             UNITED STATES BANKRUPTCY COURT FOR THE
                                  SOUTHERN DISTRICT OF FLORIDA
                                     WEST PALM BEACH DIVISION

                                                          CASE NO.: 19-14332-EPK
                                                          CHAPTER 7 CASE
        IN RE:

        ABEER KHALFA
        AKA ABEER KHALFA MAJDALAWI
        Debtor(s).
                   /

          ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY DE. # 27


           THIS CASE came before the court, upon Motion for Relief from the Automatic Stay (Docket
        #27) filed pursuant to local rule 4001-1(c) by Nationstar Mortgage LLC d/b/a Mr. Cooper, it’s
        successors and/or assigns (“Movant”). There being no objections to the entry of this order within
        the fourteen days negative notice period set forth therein and the Court based on the record, it is
           ORDERED:

          1.     That the Motion is granted.
          2.     The Automatic Stay imposed by 11 U.S.C. §362 is terminated as to Movant’s interest in
                 the following property:
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           LOT 121 OF THE SPRINGS-PLAT NO. 1, ACCORDING TO THE
           PLAT THEREOF, AS RECORDED IN PLAT BOOK 80, AT
           PAGE 92, OF THE PUBLIC RECORDS OF PALM BEACH
           COUNTY, FLORIDA

           A/K/A: 6121 SPRING ISLES BL, LAKE WORTH, FLORIDA 33463

  3.   The Order granting Relief from the automatic stay is entered for the sole purpose of
       allowing Movant to obtain an in rem judgment against the property and any other remedies
       the Movant may have under applicable non-bankruptcy law; provided, that the Movant
       shall not seek or obtain an in personam judgment against the debtor.
  4.   That the fourteen (14) day stay of the Order Granting Relief pursuant to Bankruptcy Rule
       4001 (a)(3) is waived so that Secured Creditor can pursue its in rem remedies without
       further delay.
  5.   Movant is permitted to offer the debtor information regarding potential Forbearance
       Agreement, Loan Modification, Refinance Agreement, or other loan workout/Loss
       Mitigation agreement and may enter into such agreement with the debtor without violating
       any Discharge Order. However, Movant, may not enforce any personal liability against the
       debtor if Debtor’s personal liability is discharged in this bankruptcy case



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ReShaundra M. Suggs, Esq., is directed to serve a copy of this order on interested parties and file
a certificate of service upon the entry of this order.
